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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
10

11    RONNIE JOSEPH PAEZ,                         Case No. 5:22-cv-00110-PA-AFM
12
                          Plaintiff,
                                                  JUDGMENT
13
             v.
14
      COLTON POLICE STATION, et al.,
15

16                        Defendants.

17

18          Pursuant to the Court’s Order Accepting the Report and Recommendation of
19    the United States Magistrate Judge,
20          IT IS ORDERED AND ADJUDGED that the action is dismissed without
21    prejudice for failure to prosecute and failure to comply with Court orders.
22

23    DATED: June 24, 2022
24
                                             ____________________________________
25
                                                    PERCY ANDERSON
26                                             UNITED STATES DISTRICT JUDGE
27

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